       Case 1:19-cv-01244-DLC Document 1 Filed 02/08/19 Page 1 of 36




                    UNITED STATES DISTRICT COURT
                   SOUTHERN DISTRICT OF NEW YORK



SHEET METAL WORKERS LOCAL 17 ) Case No.:
TRUST FUNDS, Individually and on Behalf of )
All Others Similarly Situated,             ) CLASS ACTION
                                           )
                               Plaintiff,  ) COMPLAINT FOR VIOLATIONS OF
                                           ) THE FEDERAL SECURITIES LAWS
              v.                           )
                                           ) DEMAND FOR JURY TRIAL
GENERAL ELECTRIC COMPANY, JOHN L. )
FLANNERY, RUSSELL STOKES, and JAMIE )
S. MILLER,                                 )
                                           )
                               Defendants. )
                                           )
            Case 1:19-cv-01244-DLC Document 1 Filed 02/08/19 Page 2 of 36



       Plaintiff Sheet Metal Workers Local 17 Trust Funds (“Plaintiff”), by and through its

attorneys, brings this federal securities class action on behalf of all persons or entities that

purchased or otherwise acquired GE common stock between December 27, 2017 and October

29, 2018, inclusive (the “Class Period”), seeking to pursue remedies under the Securities

Exchange Act of 1934, 15 U.S.C. § 78a et. seq. (the “Exchange Act”). Plaintiff alleges the

following upon information and belief, except as to those allegations concerning Plaintiff, which

are alleged upon personal knowledge. Plaintiff’s information and belief is based upon, among

other things, its counsel’s investigation, which includes without limitation: (a) review and

analysis of public filings made by General Electric Company (“GE” or the “Company”) with the

U.S. Securities and Exchange Commission (“SEC”); (b) review and analysis of press releases

and other publications disseminated by certain of the Defendants and other related non-parties;

(c) review of news articles, shareholder communications, conference call transcripts, and

postings on GE’s website concerning the Company’s public statements; and (d) review of other

publicly available information concerning GE and the Individual Defendants.

I.     NATURE OF THE ACTION

       1.       GE is a 126-year old industrial conglomerate with a number of primary business

units, including Lighting, Aviation, Healthcare, Power, and Capital.

       2.       GE’s largest and most important segment, by far, is GE Power, which earned $36

billion in revenue in 2017—nearly 30% of the Company’s revenue for the year. The vast

majority of GE Power’s revenue comes from the sale and servicing of its Gas Power Systems –

large gas turbines that the Company sells to power utilities across the globe.     As a Reuters

article put it, “[t]he giant machines form the beating heart of billon-dollar electricity plants




                                                2
             Case 1:19-cv-01244-DLC Document 1 Filed 02/08/19 Page 3 of 36



around the world.” In 2017, GE Power was the leading manufacturer of gas turbines, with more

than 50% of global market share.

        3.       In recent years, GE staked the future of its GE Power segment on the

development of a new turbine type called the “H-Class,” also known as High Efficiency, Air

Cooled (“HA”), which purported to deliver improved efficiency and reliability over prior

turbines, and was expected to drive customer demand. Indeed, GE has repeatedly publicly

claimed that, of its competitors, “none can offer the outstanding performance, reliability,

efficiency, and expertise of GE H-class gas turbine.”

        4.       In reality, the H-Class turbine was disastrously defective.     Specifically, the

coating used to keep the turbines’ blades from overheating was ineffective, leading to dangerous

oxidation that could cause the turbines to fail after as little as one year of use, in turn causing

power outages in the areas serviced by the utilities using GE’s turbines, and requiring months-

long repairs. Indeed, as was later revealed, data from French utilities showed that power plants

using GE’s H-Class turbines suffered four times as many outages as other plants.

        5.       At the same time GE was introducing the new H-Class turbine product, GE Power

made its largest-ever industrial acquisition in 2015, acquiring French company Alstom’s power

business for $10.6 billion. By the end of 2015, GE’s Power segment goodwill balance had

ballooned to nearly $23 billion, increasing to $26.4 billion at the end of 2016. The Alstom

acquisition turned out to be a disaster and GE overpaid at the top of the market, right at the time

that demand was beginning to wane in what had become an oversupplied global power market.

Despite GE Power’s earnings and outlook deteriorating substantially throughout 2017, the

Company’s Power segment goodwill remained valued at over $25 billion as of December 31,

2017.



                                                3
            Case 1:19-cv-01244-DLC Document 1 Filed 02/08/19 Page 4 of 36



       6.       Early in the Class Period, signs of trouble were emerging with GE’s H-Class

turbines, but defendants assured the public that the problems were minor, easily fixable, and in

no way widespread or systemic. For example, on December 27, 2017, Reuters published an

article titled, “In Pakistan, Questions Raised over GE's Flagship Power Turbines,” reporting that

GE’s “flagship gas turbines ran into problems in Pakistan earlier this year, leading to delays and

lengthy outages at three newly built power stations.” According to the article, the GE H-Class

turbines that began running in the beginning of 2017 in Pakistan were “producing at levels well

below their capacity and the problem was acute in the crucial summer months, when

temperatures in the country frequently exceed 40 degrees Celsius (104 °F).”        However, in a

statement to Reuters, GE denied there were any issues with the H-class turbines, assuring the

public that “every commercial HA site today is demonstrating exceptional performance levels for

both output and efficiency.” Specific to GE Power’s gas turbines running in Pakistan, GE

represented, “[W]e’ve encountered and communicated openly about launch challenges and

readily resolved issues during this time.”

       7.       Indeed, during the Class Period, defendants represented that GE Power “is a

fundamentally strong franchise with leading technology” and GE was “proud of the HA gas

turbine technology.” Further, GE assured investors that the Company’s installed turbines units

were “performing to specifications and guarantees.” When GE Power began to experience

“softening demand” for its turbines in the first quarter of 2018, GE falsely attributed this

reduction entirely to external factors, such as “excess capacity in developed markets,” and

“continued pressure in oil and gas applications and macroeconomic and geopolitical

environments…energy efficiency, renewable energy penetration and delays in expected orders,”

rather than any performance issues with the turbines.


                                                4
            Case 1:19-cv-01244-DLC Document 1 Filed 02/08/19 Page 5 of 36



       8.       In late September 2018, investors began to learn the truth about GE’s “flagship”

H-Class turbines. On September 19, 2018, defendants disclosed by a LinkedIn post that four H-

Class turbines were shut down due to blade problems that were discovered at power plants in

Texas owned by Exelon. The Company also admitted that a series of delays had impacted “the

completion of the three HA-equipped power plants in Pakistan” which GE said “were caused by

a mix of factors - some in our control and others that were out of our hands.” Through the

LinkedIn post, defendants revealed that the Company had “identified an issue that we expect to

impact our HA units” involving “an oxidation issue that affects the lifespan of a single blade

component.” GE further warned that the same oxidation issue was likely to lead to additional

turbine shutdowns at other plants.     However, defendants again downplayed the issue, assuring

investors that “[t]he minor adjustments that we need to make do not make the HA any less of a

record setting turbine – they are meeting – and in many cases exceeding – their performance

goals at every customer site today.”

       9.       Analysts were incredulous. In a note to investors, JPMorgan analyst Stephen

Tusa warned that the issue with some gas-turbine blades threatened to hurt GE Power’s earnings

and damage its reputation when it was already losing market share. Contrary to defendants’

prior claims that reduced demand was purely a result of the market, Tusa stated that there could

no longer be any doubt that GE Power’s turbine issues were “company-specific” and

“structural,” and not due to the “cyclical nature of the power industry downturn.” Tusa also

explained that the blade issue was not a simple or minor problem to fix, as repairs to the faulty

turbines would require “close to perfection [on] a microscopic level.” Over the next four trading

days, in response to fallout from the turbine issues, GE’s stock price dropped $1.59 per share or




                                                 5
          Case 1:19-cv-01244-DLC Document 1 Filed 02/08/19 Page 6 of 36



12%, from $12.86 per share on September 19, 2018 to $11.27 per share on September 25, 2018

— wiping out over $13 billon in the Company’s market cap.

       10.     Shortly thereafter, on October 1, 2018, the Company unexpectedly announced

that it had removed Defendant John L. Flannery as chairman and CEO after only a year on the

job and had replaced him with Lawrence Culp. GE also announced that it would likely have to

take a $23 billion goodwill impairment charge for its ailing Power business, eliminating almost

all of the goodwill it recorded on its balance sheet for its Power business.

       11.     On October 30, 2018, GE made several stunning announcements. In Culp’s first

quarterly report with the Company since taking over as CEO, GE confirmed a massive goodwill

impairment charge of $22 billion related to GE Power, disclosed that the SEC and Department of

Justice had launched civil and criminal investigations into the goodwill charge, slashed its

dividend to 1 cent, and announced that it would be forced to reorganize its Power business,

separating the floundering Gas Power Systems business from the rest of the segment, with

Defendant Russell Stokes no longer in charge of that part of the business.

       12.     Moreover, the Company’s Q3 2018 results revealed that structural flaws in GE

Power’s H-Class turbines had caused demand to plummet and costs to skyrocket, as utilities

around the globe halted their orders for new turbines and demanded costly repairs under

warranty for their existing turbines. Indeed, by the end of Q3 2018, GE had sold a mere 28

turbines in the first nine months of the year, compared to 63 in the prior year – a decline of 56%.

       13.     Significantly, after a mere month on the job, CEO Culp admitted that Defendants

had misrepresented the state of GE’s Power segment. Indeed, Culp stated during the Company’s

conference call that “what we need to do at Power is wring out a little bit of the undue

optimism.” Culp added: “this is a good opportunity for us to, frankly, manage this franchise



                                                 6
          Case 1:19-cv-01244-DLC Document 1 Filed 02/08/19 Page 7 of 36



better than we have…Clearly, there are a lot of issues that -- from the past that the team is

dealing with.”

       14.       The market reacted in astonishment. Discussing the gravity of GE’s

announcement, former SEC Chairman Harvey Pitt, stated: “Companies don’t write down this

amount of money and not get held accountable.” Pitt further added: “You have to get it right,

and you start behind the eight-ball when the number is $22 billion.”

       15.       In reaction to GE’s disclosures, the Company’s stock plummeted an additional

$0.98 per share from $11.16 per share on October 29, 2018, to $10.18 per share on October 30,

2018—a significant decline of over 9% wiping out $8.5 billion more of the Company’s market

capitalization in one trading day.

       16.       As a result of Defendants’ wrongful acts and omissions, and the precipitous

decline in the market value of the Company’s common stock, Plaintiff and the other Class

members have suffered significant losses and damages.

II.    JURISDICTION AND VENUE

       17.       The claims asserted herein arise under Sections 10(b) and 20(a) of the Exchange

Act (15 U.S.C. §§78j(b) and 78t(a)), and Rule 10b-5 promulgated thereunder by the SEC (17

C.F.R. § 240.10b-5).

       18.       This Court has jurisdiction over the subject matter of this action pursuant to 28

U.S.C. §1331 and Section 27 of the Exchange Act (15 U.S.C. §78aa).

       19.       Venue is proper in this Judicial District pursuant to 28 U.S.C. §1391(b) and

Section 27 of the Exchange Act (15 U.S.C. §78aa(c)) because the Company conducts a

substantial amount of business in this Judicial District and a significant portion of Defendants’




                                                 7
           Case 1:19-cv-01244-DLC Document 1 Filed 02/08/19 Page 8 of 36



actions, and the subsequent damages, took place within this District. Further, GE’s common

stock trades on the NYSE, located within this District.

       20.     In connection with the acts, transactions, and conduct alleged herein, Defendants

directly and indirectly used the means and instrumentalities of interstate commerce, including the

United States mail, interstate telephone communications, and the facilities of a national securities

exchange.

III.   PARTIES

       21.     Plaintiff Sheet Metal Workers Local 17 Trust Funds, as set forth in the

accompanying certification, incorporated by reference herein, purchased GE common stock

during the Class Period, and suffered damages as a result of the federal securities law violations

and the false and/or misleading statements and/or material omissions alleged herein.

       22.     Defendant GE is incorporated in the State of New York and maintains its

corporate headquarters in Boston, Massachusetts. GE contains a number of business units,

including Lighting, Aviation, Healthcare, Power, Renewable Energy, Additive, Digital, and

Capital.

       23.     Defendant John L. Flannery (“Flannery”) was named Chief Executive Officer

(“CEO”) and Chairman of GE in August 2017. On October 1, 2018, it was announced that the

Board of Directors had unanimously voted him out and replaced him with H. Lawrence Culp, Jr.

Defendant Flannery was GE’s eleventh CEO and the company’s tenth chairman. His short tenure

of barely a year is notable for a company with a storied history of long serving CEOs.

       24.     Defendant Jamie S. Miller (“Miller”) was, at all relevant times, Senior Vice

President and Chief Financial Officer (“CFO”) of GE. Defendant Miller joined GE in 2008 as




                                                 8
          Case 1:19-cv-01244-DLC Document 1 Filed 02/08/19 Page 9 of 36



Vice President, Controller and Chief Accounting Officer, and later became CFO in October

2017.

        25.    Defendant Russell Stokes (“Stokes”) was, at all relevant times, the Chief

Executive Officer and President of GE Power Portfolio and a Senior Vice President of GE as of

June 2017. Defendant Stokes joined GE in 1997 in the Financial Management Program. Prior to

his positions at GE Power, Defendant Stokes was the President and CEO of GE Energy

Connections, the electrification, grid and controls business of GE.

        26.    Defendants Flannery, Miller and Stokes are collectively referred to hereinafter as

the “Individual Defendants.” The Individual Defendants, because of their positions with the

Company, possessed the power and authority to control the contents of GE’s reports to the SEC,

as well as its press releases and presentations to securities analysts, money and portfolio

managers and institutional investors, i.e., the market. Each defendant was provided with copies

of the Company’s reports and press releases alleged herein to be misleading prior to, or shortly

after, their issuance, and had the ability and opportunity to prevent their issuance or cause them

to be corrected.   Because of their positions and access to material non-public information

available to them, each of these Defendants knew that the adverse facts specified herein had not

been disclosed to, and were being concealed from, the investing public, and that the positive

representations which were being made were then materially false and/or misleading. The

Individual Defendants are liable for the false statements pleaded herein, as those statements were

each “group-published” information, and were the result of the collective actions of the

Individual Defendants.




                                                9
         Case 1:19-cv-01244-DLC Document 1 Filed 02/08/19 Page 10 of 36



IV.    SUBSTANTIVE ALLEGATIONS

       A.      Background of the Company

       27.     GE is a 126-year old industrial conglomerate incorporated in the State of New

York and headquartered in Boston, Massachusetts. GE contains a number of primary business

units, including Lighting, Aviation, Healthcare, Power, and Capital.

       28.     GE Power is an energy production segment of GE that provides equipment,

solutions, and services worldwide. GE Power’s major products include gas and steam turbines,

engines, generators, high-voltage equipment, and power generation services. According to GE’s

latest Annual Report, the mission of GE Power is “Powering lives & making electricity more

affordable, reliable, accessible & sustainable.” GE’s Form 10-K for the year ended December

31, 2017 (“2017 Form 10-K”) states that GE Power “serves power generation, industrial,

government and other customers worldwide with products and services related to energy

production and water reuse.” The 2017 Form 10-K states that GE Power’s gas power system

“offers a wide spectrum of heavy-duty and aeroderivative gas turbines” such as the High

Efficiency, Air Cooled (“HA”) Turbines models “for utilities, independent power producers and

numerous industrial applications, ranging from small, mobile power to utility scale power

plants.” As of 2018, GE Power plants produced one-third of the world’s electricity.

       29.     The HA turbines were developed in 2014. There are two model lines: the 7HA

and 9HA gas turbines. According to GE’s corporate website, as of January 28, 2019, GE had 86

orders, of which 58 units had shipped, and of which 32 units are in operation for its HA series in

total. HA units had operated for a total of 250,853 hours.




                                                10
         Case 1:19-cv-01244-DLC Document 1 Filed 02/08/19 Page 11 of 36



       B.      Defendants’ Materially False and Misleading Statements

                1.    Statements Regarding GE’s Pakistan Relationship

       30.     On December 27, 2017, before the market opened, Reuters published an article

titled, In Pakistan, Questions Raised over GE’s Flagship Power Turbines, where it reported that

GE’s “flagship gas turbines ran into problems in Pakistan earlier this year, leading to delays and

lengthy outages at three newly built power stations.” The relationship between GE and Pakistan

started in 2015 when “GE won the contracts to supply Pakistan with six turbines for three power

stations.” According to the article, GE’s flagship gas turbines, which included GE’s 9HA-class

gas turbines and began running in early 2017 in Pakistan, were “producing at levels well below

their capacity and the problem was acute in the crucial summer months, when temperatures in

the country frequently exceed 40 degrees Celsius (104 °F).”

       31.     In a statement to Reuters, GE emphatically denied that there were any systemic

design or structural problems with the turbines, claiming that “every commercial HA site today

is demonstrating exceptional performance levels for both output and efficiency.” Specific to the

GE Power’s gas turbines running in Pakistan, GE represented, “We’ve encountered and

communicated openly about launch challenges and readily resolved issues during this time. It’s

important to note that challenges are common with power plants of this size and complexity

during the commissioning and early operations phase.”

       32.     On January 22, 2018, Reuters published an article titled Pakistan’s PM Says

Confident GE Will Fix ‘Technical’ Issues With Gas Turbines. Reuters reported that Pakistan’s

Prime Minister had said that some of GE’s flagship new gas turbines “were still suffering from

technical issues such as ‘vibration.’” Reuters also reported that Pakistan’s former petroleum

minster said the gas turbines “‘have vibration issues, some have technical issues.’” In response



                                               11
         Case 1:19-cv-01244-DLC Document 1 Filed 02/08/19 Page 12 of 36



to the former petroleum minister’s concerns, GE reiterated its December 27, 2017 statement to

Reuters: “Together we’ve encountered and communicated openly about launch challenges and

readily resolved issues during this time – it’s important to note that challenges are common with

power plants of this size and complexity during the commissioning and early operations phase.

We remain committed to supporting customer and site needs with the highest standards of

quality and excellence.”

               2.      Fourth Quarter 2017 Financial Results

       33.     On January 24, 2018, GE announced its fourth quarter 2017 and full year results

and held a conference call with investors.       During the conference call, Defendant Stokes

represented that GE was “proud of the HA gas turbine technology” as “[i]t is operating in line

with performance guarantees.” While Defendant Stokes acknowledged “some issues related to

commissioning at certain sites,” he represented that GE had “readily addressed them” and “have

commenced working on supply chain and project organizations to address volume ramp issues

and things considered normal learning curve process.” Lastly, Defendant Stokes represented that

all of the 23 units installed were “performing to specifications and guarantees.”

       34.     On February 23, 2018, GE filed its 2017 Form 10-K, reporting a goodwill year-

end balance for its Power segment of over $25 billion, slightly below its 2016 year-end balance

of $26 billion.     In discussing the valuation of its Power market goodwill impairment, the

Company stated, in pertinent part:

       Due to the overall decline in the Power market, we performed an interim step-one
       analysis of our Power Generation reporting unit within our Power segment, which
       indicated that its fair value has declined since our last impairment test; however,
       [the goodwill] was still significantly in excess of its carrying value. We will
       continue to monitor the Power markets and the impact it may have on this
       reporting unit.

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                                                12
        Case 1:19-cv-01244-DLC Document 1 Filed 02/08/19 Page 13 of 36



       As of December 31, 2017, we believe no other goodwill impairment exists, apart
       from the impairment charges discussed above, and that the remaining goodwill is
       recoverable for all of our reporting units; however, there can be no assurances that
       additional goodwill will not be impaired in future periods.

              3.      First Quarter 2018 Financial Results

       35.    On April 20, 2018, the Company released its results for the first quarter of 2018.

During the conference call, Defendant Flannery represented, “We have the leading franchising

gas turbines, a strong position in wind, cutting-edge technology, digital expertise, grid and

automation capability….”

       36.    On May 1, 2018, the Company filed its Form 10-Q for the first quarter of 2018

(“Q1 2018 Form 10-Q”) and reported a goodwill quarter-end balance for its Power segment of

over $25 billion, unchanged from the end of 2017. In the Q1 2018 Form 10-Q, the Company

represented that demand for GE Power’s turbines had declined due to “excess capacity in

developed markets, continued pressure in oil and gas applications and macroeconomic and

geopolitical environments have created softening demand for gas turbines” and “softer than

expected during the first quarter of 2018” in the power market “due to energy efficiency,

renewable energy penetration and delays in expected orders.”

               4.     June 26, 2018 Business Update Call

       37.    On June 26, 2018, GE conducted a business update conference call with analysts.

In discussing GE Power, during the call, Defendant Flannery represented that GE Power “is a

fundamentally strong franchise with leading technology, a valuable installed base, and expansive

global research” with “approximately 7,000 gas turbines in our installed base and we have a 20-

year plus track record that demonstrates we can improve output, reliability, and performance of

those assets when we service them.”




                                               13
          Case 1:19-cv-01244-DLC Document 1 Filed 02/08/19 Page 14 of 36



                 5.     Second Quarter 2018 Financial Results

        38.      On July 20, 2018, GE released its results for the second quarter 2018 ended and

reported that Power revenue fell 19 percent, and held a conference call with investors to discuss

the Company’s second quarter results.        During the conference call, Defendant Flannery

represented that the Power “team continues to focus on rightsizing footprint, reducing base costs,

improving quality and maximizing the value of our installed base.”

        39.      On July 27, 2018, GE filed its Form 10-Q for the second quarter of 2018 (“Q2

2018 Form 10-Q”) which included new language related to its impairment testing of goodwill.

In regards to impairment testing regarding the Power Generation and Grid Solutions units, the

filing stated:

        In assessing the possibility that a reporting unit’s fair value has been reduced
        below its carrying amount due to the occurrence of events or circumstances
        between annual impairment testing dates, we consider all available evidence,
        including (i) the results of our impairment testing from the most recent testing
        date (in particular, the magnitude of the excess of fair value over carrying value
        observed), (ii) downward revisions to internal forecasts or decreases in market
        multiples (and the magnitude thereof), if any, and (iii) declines in our market
        capitalization (and the magnitude and duration of those declines), if any. As a
        result of this assessment, we performed an interim step-one impairment test at our
        Power Generation and Grid Solutions reporting units within our Power segment in
        the second quarter of 2018. The results of the analysis indicated that fair value
        was in excess of carrying value by approximately 10% for our Power Generation
        reporting unit and 9% at our Grid Solutions reporting unit.

                                             * * *

        As of June 30, 2018, we believe goodwill is recoverable for all of our reporting
        units. However, the Power and Oil & Gas markets continue to be challenging
        which could result in changes in our projected future earnings and net cash flows
        at these businesses as a result of sustained declines in macroeconomic or business
        conditions affecting our reporting units and there can be no assurances that
        goodwill will not be impaired in future periods. The planned sale of our
        Distributed Power business is not expected to materially affect the goodwill
        impairment test results for our Power Generation reporting unit noted above.

        40.      In the Q2 2018 Form 10-Q, the Company further represented that demand for GE


                                                14
           Case 1:19-cv-01244-DLC Document 1 Filed 02/08/19 Page 15 of 36



Power’s turbines had softened due to “excess capacity in developed markets, continued pressure

in oil and gas applications and macroeconomic and geopolitical environments have created

softening demand for gas turbines” and “softer than expected during the first half of 2018” in the

power market “due to energy efficiency, renewable energy penetration and delays in expected

orders.”

       41.     The above statements in paragraphs 31-40 were materially false and/or misleading

and failed to disclose material adverse facts about the Company’s business, operations, and

prospects. Specifically, Defendants failed to disclose that: (i) the design and technology of GE

Power’s flagship gas turbines were structurally flawed as they were plagued with an oxidation

problem that caused the blades in the H-Class gas turbines to fail; (ii) GE Power’s goodwill was

materially overstated, in large part because of such structural issues; (iii) the Company lacked

adequate internal and financial controls; and (iv) as a result of the foregoing, Defendant’s public

statements were materially false and/or misleading and/or lacked a reasonable basis.

       C.      The Truth Is Slowly Revealed

       42.     On September 19, 2018, Defendant Stokes published an article on LinkedIn

disclosing at the very end of a long post that the Company had “identified an issue that we expect

to impact our HA units. It involves an oxidation issue that affects the lifespan of a single blade

component.”     Despite the disclosure, Defendant Stokes sought to minimize the problem,

claiming that “we have identified a fix and have been working proactively with HA operators to

address impacted turbines.”     Defendant Stokes positively touted GE Power’s turbines by

representing that the “minor adjustments that we need to make do not make the HA any less of a

record setting turbine – they are meeting – and in many cases exceeding – their performance

goals at every customer site today.”



                                                15
         Case 1:19-cv-01244-DLC Document 1 Filed 02/08/19 Page 16 of 36



       43.     In his LinkedIn post, Defendant Stokes also belatedly admitted that the delays that

had impacted “the completion of the three HA-equipped power plants in Pakistan” “were caused

by a mix of factors – some in our control and others that were out of our hands.” Again,

Defendant Stokes positively touted GE Power’s HA technology:

       [T]hrough close cooperation with our customers, suppliers and government
       stakeholders, we were able to deliver, and the plants are expected to supply up to
       3,600 megawatts for 30 plus years – the equivalent amount of electricity needed
       to power up to 7.3 million Pakistani homes. Today, our HA technology is
       providing Pakistan with efficient, flexible, reliable and low-cost power, enhancing
       the country's ability to meet its growing energy needs and improving the lives of
       millions of citizens.

       44.     Immediately, various media outlets and analysts commented on Defendant

Stokes’ revelation of the oxidation issue with GE Power’s HA turbine units. For example, on

September 20, 2018, Reuters published an article titled Four General Electric Power Turbines

Shut Down in U.S. Due to Blade Issue. Specifically, Reuters reported “that four of its new

flagship power turbines in the United States have been shut down to an ‘oxidation issue’ and

warned it expects the problem to affect more of the 51 units it has shipped.” Significantly,

Reuters also reported that GE expected “the same issue will impact other HA units” which meant

that GE would be responsible for significant costs associated with the oxidation issue.

       45.     Also on September 20, 2018, Tusa, an analyst from JPMorgan (“JPM”)

commented in a report that the turbine failure related to “a first stage blade” and “raises red flags

around risks that are both financial and fundamental” for GE Power. Tusa concluded, “While

the debate can rage around the structural versus cyclical nature of the power industry downturn

(we believe structural), if as bad as it seems, we believe there should be no longer any doubt that

GE Power has company-specific issues.”




                                                 16
         Case 1:19-cv-01244-DLC Document 1 Filed 02/08/19 Page 17 of 36



       46.     JPM was also highly skeptical of GE’s claims that the issues that had occurred

with the GE HA turbine blades at Exelon power plants were minor and relatively insignificant.

Indeed, JPM felt that the H-frame blade failure risked franchise impairment, and cast significant

doubt on Defendant Stokes’ comments about “minor adjustments.” As that report stated, “this is

the most difficult part to design, manufacture and repair, made from proprietary nickel based

single crystal alloys requiring close to perfection a microscopic level,” and it “will be a massive

undertaking to establish the cause of failure, redesign the turbine blade, develop hard tooling at

casting vendors, learn to cast, machine and apply coatings to the new blade, schedule customer

outages and send service crews to sites around the world.”

       47.     Tusa emphasized that even after having “conversations with management

implying that the new blade is already in production, we wonder why the new blades were not

being used to prevent such a situation. In other words, we struggle to believe that the fix is

permanent or to just to keep the turbine running in the near term.” Tusa commented that the

problems at GE Power were “company-specific issues,” which included “the decline in the profit

pool from its large installed base of services, but now around the H-frame technology, and

potentially on the profitability of the related future services stream that is key to replace the one

currently running down, some of which sits on the balance sheet in $9 B of contract assets.”

Tusa noted that the “issue at Power is much more fundamental and suggests something more

systemic” “at a time when the company has almost no wiggle room to spare in a balance sheet

that we believe looks nothing like its ratings.”

       48.     In reaction to these disclosures, GE’s stock plummeted $1.59 per share or 12%,

from $12.86 per share on September 19, 2018, to $11.27 per share on September 25, 2018 –

wiping out over $13 billion in the Company’s market cap.



                                                   17
         Case 1:19-cv-01244-DLC Document 1 Filed 02/08/19 Page 18 of 36



       49.      On October 1, 2018, GE announced that Larry Culp would succeed John Flannery

as GE’s Chief Executive Officer. In the same press release, the Company revealed that, although

preliminary, it was taking a massive $23 billion impairment charge related to its GE Power

business—a charge so large that it effectively wiped out all of GE Power’s goodwill, including

all of the goodwill related to Alstom:

       While GE’s businesses other than Power are generally performing consistently
       with previous guidance, due to weaker performance in the GE Power business, the
       Company will fall short of previously indicated guidance for free cash flow and
       EPS for 2018. In addition, GE expects to take a non-cash goodwill impairment
       charge related to the GE Power business. GE Power’s current goodwill balance is
       approximately $23 billion and the goodwill impairment charge is likely to
       constitute substantially all of this balance. The impairment charge is not yet
       finalized and remains subject to review. The Company will provide additional
       commentary when it reports third quarter results.

       50.      On October 10, 2018, Tusa published an analyst report about the HA turbine

blade issues in the context of the overall deteriorating situation in GE Power. While Tusa noted

that “the consensus seemingly continues to ignore on-the-ground realities in exchange for hope

around a new CEO, if the $23B goodwill charge, guide down, and CEO change were not

enough,” he emphasized that there are “serious technology issues with the new flagship

product.” Specifically, Tusa noted, “While most of the focus has been on the technology around

the blades, which GE has more or less admitted to with a reference to a fix, details below

indicate a myriad of shortfalls in other parts of the turbine that we find hard not to consider

‘technology flaws.’” Tusa pointed out a litany of problems and failures with the H-frame

technology such as the blade failures but issues with controls, vibrations, and Axial Fuel Staging.

He continued,

       The commentary is a reminder of the hurdles to a “fix” for a Power business that
       is already set to lose money on a GAAP basis, with pronounced free cash
       outflows, facing not only macro headwinds, but more competition/overcapacity,
       and now company specific technology issues. We are not sure what is left to
       determine “asset value” here as issues like this are not solved by a simple recall
                                                18
         Case 1:19-cv-01244-DLC Document 1 Filed 02/08/19 Page 19 of 36



       and re-ship. These are engineering feats that need to be validated, typically taking
       time measured in years not months, and in long cycle technology businesses
       where a new product gets introduced every couple of decades, missing a cycle has
       long term implications.

       51.     He added that the news revolving the situation at GE Power, including the issues

with the H-frame blades, was, “a legitimate driver of the related stock decline, with enough

uncertainty and downside implications for a highly levered company with no available cash flow,

and little room for error, to justify further downside, especially from current levels.” As a result,

it seems to Tusa “that GE overpromised and likely took on risk for customers to win deals.”

       52.     On October 30, 2018, GE made several stunning announcements. In Culp’s first

quarterly report with the Company since taking over as CEO, GE confirmed a massive goodwill

impairment charge of $22 billion related to GE Power, disclosed that regulatory investigations

related to the Company’s accounting had expanded to include the goodwill impairment write-

down, including a DOJ criminal investigation, slashed its dividend to 1 cent, and announced

intentions to reorganize its Power business. The press release stated:

       GE announced results today for the quarter ended September 30, 2018. The
       Company reported a loss of $2.63 per share from GAAP continuing operations.
       As summarized in the attached reconciliation, adjusted earnings per share (non-
       GAAP) were $0.14, down 33 percent from the same period in 2017. The
       Company recorded a non-cash goodwill impairment charge of $22 billion, before
       tax, related to GE Power.

       The Company also announced immediate actions to strengthen its balance sheet
       and position its businesses for success.

       First, GE plans to reduce its quarterly dividend from $0.12 to $0.01 per share
       beginning with the Board’s next dividend declaration, which is expected to occur
       in December 2018. This change will allow GE to retain ~$3.9 billion of cash per
       year compared to the prior payout level.

       Second, GE intends to reorganize Power to accelerate the business’ operating and
       financial improvements. GE plans to create two units — a unified Gas business
       combining GE’s gas product and services groups, and a second unit constituting
       the portfolio of GE Power’s other assets including Steam, Grid Solutions,
       Nuclear, and Power Conversion. The Company also intends to consolidate

                                                 19
         Case 1:19-cv-01244-DLC Document 1 Filed 02/08/19 Page 20 of 36



       Power’s headquarters structure to ensure these units can best serve their
       customers.

       53.     In addition, on the Company’s October 30, 2018 conference call, in discussing the

Company’s $22 billion charge related to the Alstom acquisition, Defendant Miller announced

that “the SEC expanded the scope of its ongoing investigation to include the goodwill charge”

and that the “Department of Justice is also investigating this charge.”

       54.     Moreover, CEO Culp essentially admitted that Defendants’ statements about GE

Power, and its goodwill, were false. Indeed, Culp stated during the Company’s conference call

that “what we need to do at Power is wring out a little bit of the undue optimism.” Culp added:

“[r]ight now I’m spending most of my time with the Power business . . . We need to establish a

realistic outlook there, particularly for the gas business; and drive improvements from there…”

Further, in regard to GE’s Power segment, Culp stated: “this is a good opportunity for us to,

frankly, manage this franchise better than we have…Clearly, there are a lot of issues that -- from

the past that the team is dealing with.”

       55.     In regards to splitting GE Power into two units and minimizing GE Power’s

CEO’s position, Culp revealed that both of the units “will report directly to me” instead of

Defendant Stokes.

       56.     Also, Defendant Miller discussed the booking of multiple impairments during the

quarter in connection with GE Power. Specifically, Defendant Miller revealed that the goodwill

charges were connected with the “size of the charge results from the significant value [that were]

associated with the unrecognized legacy assets, principally our profitable services backlog, long-

standing customer relationships and our gas turbine technology.”

       57.     In reaction to these disclosures, GE’s stock plummeted $0.98 per share from

$11.16 per share on October 29, 2018, to $10.18 per share on October 30, 2018—a significant


                                                20
         Case 1:19-cv-01244-DLC Document 1 Filed 02/08/19 Page 21 of 36



decline of approximately 9% on unusually heavy trading volume of 345 million shares. GE’s

share price hit a nine-year low. GE’s stock price drop as a result of these revelations wiped out

over $8.5 billion in the Company’s market capitalization in one trading day.

       58.     Also on October 30, 2018, the Wall Street Journal published an article titled GE’s

$22 Billion Charge Intensifies Regulatory Scrutiny. Former SEC Chairman Harvey Pitt noted

the significance of the massive write-down and how the expanded investigations would focus in

large part on the accounting for goodwill. The article stated:

       “Companies don’t write down this amount of money and not get held
       accountable,” said former Securities and Exchange Commission Chairman
       Harvey Pitt. “You have to get it right, and you start behind the eight-ball when the
       number is $22 billion.”

       The charge is now a focus of two federal investigations into GE’s accounting. The
       Justice Department is conducting a criminal investigation into GE’s recent
       accounting practices, company finance chief Jamie Miller said on the company’s
       quarterly earnings call Tuesday.

       That probe is in addition to an SEC investigation launched in November. GE
       Chief Executive Larry Culp declined to comment on the investigations. “They
       will play out as they play out,” he told The Wall Street Journal.

       The investigations by the Justice Department and the SEC likely will focus on
       examining whether GE accurately followed accounting rules and corporate law
       when allocating goodwill on its balance sheet and when estimating the size of the
       write-down, Mr. Pitt said.

       “At issue will be how hard they [GE] looked at this, how diligent they were in
       considering whatever warnings were circulated internally and the rationale for
       ignoring those warnings,” he said.

       GE’s impairment charge is among the biggest in recent history, according to Carla
       Nunes, managing director at valuation firm Duff & Phelps LLC. It is the largest
       such charge since oil producer ConocoPhillips’ 2008 impairment of $25.4 billion,
       she said.

       59.     On December 7, 2018, Reuters published an article titled Exclusive: GE’s Push to

Fix Power Turbine Problem Goes Global where the consensus after conducting a “dozen



                                                21
        Case 1:19-cv-01244-DLC Document 1 Filed 02/08/19 Page 22 of 36



interviews with plant operators and industry experts” was that “[p]ower plant operators in Japan,

Taiwan, France and at multiple U.S. sites have shut down – or plan to shut down – at least 18 of

the 55 new HA-model turbines that GA has shipped so far.” As a result, “GE is setting aside

$480 million to repair its 9HA, 7HA and 9FB model turbines as it restructures its power

business.” Following the blade problems at Exelon, “state-owned utility Electricite de France

closed its plant in the northern French town of Bouchain for a month starting in late September

for blade replacements. Bouchain was the first plant worldwide to install GE’s 9HA turbine” in

January 2017. From January 2017 through October 2018, “Bouchain has logged 86 outages for

equipment failure, testing or other reasons…five times the average for non-GE plants.”

V.     CLASS ACTION ALLEGATIONS

       60.    Plaintiff brings this action as a class action pursuant to Federal Rule of Civil

Procedure 23(a) and (b)(3) on behalf of a class consisting of all those who purchased or

otherwise acquired GE common stock during the Class Period and who were damaged thereby

(the “Class”). Excluded from the Class are Defendants, members of the immediate family of

each of the Individual Defendants, any subsidiary or affiliate of GE and the directors, officers

and employees of the Company or its subsidiaries or affiliates, or any entity in which any

excluded person has a controlling interest, and the legal representatives, heirs, successors and

assigns of any excluded person.

       61.    The members of the Class are so numerous that joinder of all members is

impracticable. While the exact number of Class members is unknown to Plaintiff at this time

and can only be ascertained through appropriate discovery, Plaintiff believes that there are

hundreds or thousands of members in the proposed Class. Throughout the Class Period, GE’s

common stock was actively traded on the New York Stock Exchange (“NYSE”) (an open and

efficient market) under the symbol “GE.” Millions of GE shares were traded publicly during the
                                               22
         Case 1:19-cv-01244-DLC Document 1 Filed 02/08/19 Page 23 of 36



Class Period on the NYSE. As of September 30, 2018, GE had 8.7 billion shares of common

stock outstanding. Record owners and the other members of the Class may be identified from

records maintained by GE and/or its transfer agents and may be notified of the pendency of this

action by mail, using a form of notice similar to that customarily used in securities class actions.

       62.     Plaintiff’s claims are typical of the claims of the other members of the Class as all

members of the Class are similarly affected by Defendants’ wrongful conduct in violation of

federal law that is complained of herein.

       63.     Plaintiff will fairly and adequately protect the interests of the other members of

the Class, and has retained counsel competent and experienced in class and securities litigation.

       64.     Common questions of law and fact exist as to all members of the Class and

predominate over any questions solely affecting individual members of the Class. Among the

questions of law and fact common to the Class are:

               a)      whether the federal securities laws were violated by Defendants’ acts and

                       omissions as alleged herein;

               b)      whether Defendants participated in and pursued the common course of

                       conduct complained of herein;

               c)      whether documents, press releases, and other statements disseminated to

                       the investing public and the Company’s shareholders during the Class

                       Period misrepresented material facts about the business, finances, and

                       prospects of GE;

               d)      whether statements made by Defendants to the investing public during the

                       Class Period misrepresented and/or omitted to disclose material facts

                       about the business, finances, value, performance and prospects of GE;



                                                 23
         Case 1:19-cv-01244-DLC Document 1 Filed 02/08/19 Page 24 of 36



                  e)     whether the market price of GE common stock during the Class Period

                         was artificially inflated due to the material misrepresentations and failures

                         to correct the material misrepresentations complained of herein; and

                  f)     the extent to which the members of the Class have sustained damages and

                         the proper measure of damages.

        65.       A class action is superior to all other available methods for the fair and efficient

adjudication of this controversy since joinder of all members is impracticable. Furthermore, as

the damages suffered by individual Class members may be relatively small, the expense and

burden of individual litigation makes it impossible for members of the Class to individually

redress the wrongs done to them. There will be no difficulty in the management of this action as

a class action.

VI.     UNDISCLOSED ADVERSE FACTS

        66.       The market for GE common stock was an open, well-developed and efficient

market at all relevant times. As a result of these materially false and misleading statements and

failures to disclose described herein, GE common stock traded at artificially inflated prices

during the Class Period. Plaintiff and the other members of the Class purchased or otherwise

acquired GE common stock relying upon the integrity of the market price of the Company’s

securities and market information relating to GE, and have been damaged thereby.

        67.       During the Class Period, Defendants materially misled the investing public,

thereby inflating the price of GE common stock, by publicly issuing false and misleading

statements and omitting to disclose material facts necessary to make Defendants’ statements, as

set forth herein, not false and misleading. Said statements and omissions were materially false

and misleading in that they failed to disclose material adverse non-public information and



                                                   24
         Case 1:19-cv-01244-DLC Document 1 Filed 02/08/19 Page 25 of 36



misrepresented the truth about the Company, as well as its business, accounting, financial

operations and prospects, as alleged herein.

       68.     At all relevant times, the material misrepresentations and omissions particularized

in this Complaint directly or proximately caused or were a substantial contributing cause of the

damages sustained by Plaintiff and the other members of the Class. As described herein, during

the Class Period, Defendants made or caused to be made a series of materially false and

misleading statements about GE’s financial well-being and prospects.

       69.     These material misstatements and omissions had the cause and effect of creating

in the market an unrealistically positive assessment of the Company and its financial well-being

and prospects, thus causing the Company’s securities to be overvalued and artificially inflated at

all relevant times. Defendants’ materially false and misleading statements made during the Class

Period resulted in Plaintiff and the other members of the Class purchasing the Company’s

securities at artificially inflated prices, thus causing the damages complained of herein.

VII.   LOSS CAUSATION

       70.     During the Class Period, as detailed herein, Defendants engaged in a scheme to

deceive the market and a course of conduct that artificially inflated the prices of GE common

stock and operated as a fraud or deceit on Class Period purchasers of GE common stock by

failing to disclose to investors that the Company’s financial results were materially misleading

and misrepresented material information. When Defendants’ misrepresentations and fraudulent

conduct were disclosed and became apparent to the market, the prices of GE common stock fell

precipitously as the prior inflation came out of the Company’s stock price. As a result of their

purchases of GE common stock during the Class Period, Plaintiff and the other Class members

suffered economic loss.



                                                 25
         Case 1:19-cv-01244-DLC Document 1 Filed 02/08/19 Page 26 of 36



       71.     By failing to disclose the true state of the Company’s financial statements,

investors were not aware of the true state of the Company’s financial status.           Therefore,

Defendants presented a misleading picture of GE’s business practices and procedures. Thus,

instead of truthfully disclosing during the Class Period the true state of the Company’s business,

Defendants caused GE to conceal the truth.

       72.     Defendants’ false and misleading statements had the intended effect and caused

GE’s common stock to trade at artificially inflated levels throughout the Class Period. The stock

price drop discussed herein caused real economic loss to investors who purchased the

Company’s securities during the Class Period.

       73.     The decline in the price of GE’s common stock after the truth came to light was a

direct result of the nature and extent of Defendants’ fraud finally being revealed to investors and

the market.   The timing and magnitude of GE’s common stock price decline negates any

inference that the loss suffered by Plaintiff and the other Class members was caused by changed

market conditions, macroeconomic or industry factors, or Company-specific facts unrelated to

the Defendants’ fraudulent conduct. The economic loss suffered by Plaintiff and the other Class

members was a direct result of Defendants’ fraudulent scheme to artificially inflate the prices of

GE’s common stock and the subsequent decline in the value of GE’s common stock when

Defendants’ prior misrepresentations and other fraudulent conduct were revealed.

VIII. SCIENTER ALLEGATIONS

       74.     As alleged herein, the Individual Defendants acted with scienter in that the

Individual Defendants knew that the public documents and statements issued or disseminated in

the name of the Company during the Class Period were materially false and misleading; knew

that such statements or documents would be issued or disseminated to the investing public; and



                                                26
         Case 1:19-cv-01244-DLC Document 1 Filed 02/08/19 Page 27 of 36



knowingly and substantially participated or acquiesced in the issuance or dissemination of such

statements or documents as primary violations of the federal securities laws.

       75.     As set forth herein, the Individual Defendants, by virtue of their receipt of

information reflecting the true facts regarding GE, their control over, receipt and/or modification

of GE’s allegedly materially misleading statements and omissions, and/or their positions with the

Company which made them privy to confidential information concerning GE, participated in the

fraudulent scheme alleged herein.

IX.    APPLICABILITY OF PRESUMPTION OF RELIANCE: FRAUD-ON-THE-
       MARKET DOCTRINE

       76.     At all relevant times, the market for GE’s common stock was an efficient market

for the following reasons, among others:

               g)     GE common stock met the requirements for listing, and were listed and

                      actively traded on the NYSE, a highly efficient market;

               h)     As a regulated issuer, GE filed periodic public reports with the SEC and

                      the NYSE;

               i)     GE common stock was followed by securities analysts employed by major

                      brokerage firms who wrote reports which were distributed to the sales

                      force and certain customers of their respective brokerage firms. Each of

                      these reports was publicly available and entered the public marketplace;

                      and

               j)     GE regularly issued press releases which were carried by national

                      newswires. Each of these releases was publicly available and entered the

                      public marketplace.




                                                27
         Case 1:19-cv-01244-DLC Document 1 Filed 02/08/19 Page 28 of 36



       77.     As a result of the foregoing, the market for GE’s common stock promptly

digested current information regarding GE from all publicly available sources and reflected such

information in GE’s stock price. Under these circumstances, all purchasers of GE’s common

stock during the Class Period suffered similar injury through their purchase of GE’s common

stock at artificially inflated prices and a presumption of reliance applies.

       78.     A Class-wide presumption of reliance is also appropriate in this action under the

U.S. Supreme Court’s holding in Affiliated Ute Citizens of Utah v. United States, 406 U.S. 128

(1972), because Plaintiff’s fraud claims are grounded in Defendants’ omissions of material fact

of which there is a duty to disclose. As this action involves Defendants’ failure to disclose

material adverse information regarding GE’s business practices, financial results and condition,

and the Company’s internal controls—information that Defendants were obligated to disclose

during the Class Period but did not—positive proof of reliance is not a prerequisite to recovery.

All that is necessary is that the facts withheld be material in the sense that a reasonable investor

might have considered such information important in the making of investment decisions.

X.     NO SAFE HARBOR

       79.     The federal statutory safe harbor provided for forward-looking statements under

certain circumstances does not apply to any of the allegedly false statements pleaded in this

Complaint. The statements alleged to be false and misleading herein all relate to then-existing

facts and conditions. In addition, to the extent certain of the statements alleged to be false may

be characterized as forward-looking, they were not identified as “forward-looking statements”

when made, and there were no meaningful cautionary statements identifying important factors

that could cause actual results to differ materially from those in the purportedly forward-looking

statements.



                                                 28
         Case 1:19-cv-01244-DLC Document 1 Filed 02/08/19 Page 29 of 36



       80.     In the alternative, to the extent that the statutory safe harbor is determined to

apply to any forward-looking statements pleaded herein, Defendants are liable for those false

forward-looking statements because at the time each of those forward-looking statements was

made, the speaker had actual knowledge that the forward-looking statement was materially false

or misleading, and/or the forward-looking statement was authorized or approved by an executive

officer of GE who knew that the statement was false when made.

XI.    COUNTS AGAINST DEFENDANTS

                                              COUNT I

                      Violation of Section 10(b) of the Exchange Act and
                             Rule 10b-5 Promulgated Thereunder
                                    Against All Defendants

       81.     Plaintiff repeats and realleges each and every allegation contained above as if

fully set forth herein. This claim is asserted against all Defendants.

       82.     During the Class Period, GE and the Individual Defendants carried out a plan,

scheme and course of conduct which was intended to and, throughout the Class Period, did: (i)

deceive the investing public, including Plaintiff and the other Class members, as alleged herein;

(ii) artificially inflate and maintain the market price of GE common stock; and (iii) cause

Plaintiff and the other members of the Class to purchase GE common stock at artificially inflated

prices. In furtherance of this unlawful scheme, plan and course of conduct, defendants, and each

of them, took the actions set forth herein.

       83.     These Defendants: (a) employed devices, schemes, and artifices to defraud; (b)

made untrue statements of material fact and/or omitted to state material facts necessary to make

the statements not misleading; and (c) engaged in acts, practices and a course of business which

operated as a fraud and deceit upon the purchasers of the Company’s securities in an effort to

maintain artificially high market prices for GE common stock in violation of §10(b) of the

                                                 29
           Case 1:19-cv-01244-DLC Document 1 Filed 02/08/19 Page 30 of 36



Exchange Act and Rule 10b-5 promulgated thereunder.            Defendants are sued as primary

participants in the wrongful and illegal conduct charged herein. The Individual Defendants are

also sued herein as controlling persons of GE, as alleged herein.

          84.   GE and the Individual Defendants, individually and in concert, directly and

indirectly, by the use of means or instrumentalities of interstate commerce and/or of the mails,

engaged and participated in a continuous course of conduct to conceal adverse material

information about the business, business practices, performance, operations and future prospects

of GE as specified herein.     These Defendants employed devices, schemes and artifices to

defraud, while in possession of material adverse non-public information and engaged in acts,

practices, and a course of conduct as alleged herein in an effort to assure investors of GE’s value

and performance and substantial growth, which included the making of, or the participation in

the making of, untrue statements of material facts, and omitting to state material facts necessary

in order to make the statements made about GE and its business, operations and future prospects,

in light of the circumstances under which they were made, not misleading, as set forth more

particularly herein, and engaged in transactions, practices and a course of business which

operated as a fraud and deceit upon the purchasers of GE’s common stock during the Class

Period.

          85.   Each of the Individual Defendants’ primary liability, and controlling person

liability, arises from the following facts: (i) each of the Individual Defendants was a high-level

executive and/or director at the Company during the Class Period; (ii) each of the Individual

Defendants, by virtue of his responsibilities and activities as a senior executive officer and/or

director of the Company, was privy to and participated in the creation, development and

reporting of the Company’s operational and financial projections and/or reports; (iii) the



                                                30
         Case 1:19-cv-01244-DLC Document 1 Filed 02/08/19 Page 31 of 36



Individual Defendants enjoyed significant personal contact and familiarity with each other, and

were advised of and had access to other members of the Company’s management team, internal

reports, and other data and information about the Company’s financial condition and

performance at all relevant times; and (iv) the Individual Defendants were aware of the

Company’s dissemination of information to the investing public which they knew or recklessly

disregarded was materially false and misleading.

       86.     These Defendants had actual knowledge of the misrepresentations and omissions

of material facts set forth herein, or acted with reckless disregard for the truth in that they failed

to ascertain and to disclose such facts, even though such facts were readily available to them.

Such Defendants’ material misrepresentations and/or omissions were done knowingly or

recklessly, and for the purpose and effect of concealing GE’s operating condition, business

practices and future business prospects from the investing public and supporting the artificially

inflated price of its common stock. As demonstrated by their overstatements and misstatements

of the Company’s financial condition and performance throughout the Class Period, the

Individual Defendants, if they did not have actual knowledge of the misrepresentations and

omissions alleged, were severely reckless in failing to obtain such knowledge by deliberately

refraining from taking those steps necessary to discover whether those statements were false or

misleading.

       87.     As a result of the dissemination of the materially false and misleading information

and failure to disclose material facts, as set forth above, the market price of GE common stock

was artificially inflated during the Class Period. In ignorance of the fact that the market price of

GE shares was artificially inflated, and relying directly or indirectly on the false and misleading

statements made by Defendants, upon the integrity of the market in which the securities trade,



                                                 31
         Case 1:19-cv-01244-DLC Document 1 Filed 02/08/19 Page 32 of 36



and/or on the absence of material adverse information that was known to or recklessly

disregarded by Defendants but not disclosed in public statements by these Defendants during the

Class Period, Plaintiff and the other members of the Class acquired GE common stock during the

Class Period at artificially inflated high prices and were damaged thereby.

        88.     At the time of said misrepresentations and omissions, Plaintiff and the other

members of the Class were ignorant of their falsity, and believed them to be true. Had Plaintiff

and the other members of the Class and the marketplace known of the true performance, business

practices, future prospects and intrinsic value of GE, which were not disclosed by Defendants,

Plaintiff and the other members of the Class would not have purchased or otherwise acquired GE

common stock during the Class Period, or, if they had acquired such securities during the Class

Period, they would not have done so at the artificially inflated prices which they paid.

        89.     By virtue of the foregoing, GE and the Individual Defendants each violated

§10(b) of the Exchange Act and Rule 10b-5 promulgated thereunder.

        90.     As a direct and proximate result of the Individual Defendants’ wrongful conduct,

Plaintiff and the other members of the Class suffered damages in connection with their purchases

of the Company’s securities during the Class Period.

                                            COUNT II

                          Violation of Section 20(a) of the Exchange Act
                               Against The Individual Defendants

        91.     Plaintiff repeats and realleges each and every allegation contained above as if

fully set forth herein.

        92.     The Individual Defendants were and acted as controlling persons of GE within the

meaning of Section 20(a) of the Exchange Act as alleged herein. By virtue of their high-level

positions with the Company, participation in and/or awareness of the Company’s operations


                                                32
           Case 1:19-cv-01244-DLC Document 1 Filed 02/08/19 Page 33 of 36



and/or intimate knowledge of the Company’s actual performance, the Individual Defendants had

the power to influence and control and did influence and control, directly or indirectly, the

decision-making of the Company, including the content and dissemination of the various

statements which Plaintiff contends are false and misleading. Each of the Individual Defendants

was provided with or had unlimited access to copies of the Company’s reports, press releases,

public filings and other statements alleged by Plaintiff to be misleading prior to and/or shortly

after these statements were issued, and had the ability to prevent the issuance of the statements or

cause the statements to be corrected.

       93.     In addition, each of the Individual Defendants had direct involvement in the day-

to-day operations of the Company and, therefore, is presumed to have had the power to control

or influence the particular transactions giving rise to the securities violations as alleged herein,

and exercised the same.

       94.     As set forth above, GE and the Individual Defendants each violated §10(b) and

Rule 10b-5 by their acts and omissions as alleged in this Complaint.            By virtue of their

controlling positions, the Individual Defendants are liable pursuant to §20(a) of the Exchange

Act. As a direct and proximate result of these Defendants’ wrongful conduct, Plaintiff and the

other members of the Class suffered damages in connection with their purchases of the

Company’s common stock during the Class Period.

XII.   PRAYER FOR RELIEF

       WHEREFORE, Plaintiff, individually and on behalf of the Class, prays for judgment as

follows:

       a)      Declaring this action to be a class action pursuant to Rule 23(a) and (b)(3) of the

               Federal Rules of Civil Procedure on behalf of the Class defined herein;



                                                33
       Case 1:19-cv-01244-DLC Document 1 Filed 02/08/19 Page 34 of 36



      b)     Awarding Plaintiff and the other members of the Class damages in an amount

             which may be proven at trial, together with interest thereon;

      c)     Awarding Plaintiff and the other members of the Class pre-judgment and post-

             judgment interest, as well as their reasonable attorneys’ and experts’ witness fees

             and other costs; and

      d)     Awarding such other relief as this Court deems appropriate.

XIII. JURY TRIAL DEMANDED

      Plaintiff hereby demands a trial by jury.

DATED: February 8, 2019

                                            Respectfully Submitted,

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                                                  34
Case 1:19-cv-01244-DLC Document 1 Filed 02/08/19 Page 35 of 36
Case 1:19-cv-01244-DLC Document 1 Filed 02/08/19 Page 36 of 36
